Case 4:24-cv-00033-AMA           Document 13       Filed 04/18/24       PageID.557       Page 1 of 2




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Attorneys for Defendant


                            UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH SOUTHERN REGION


 SHERRY TERESA, individually and on                    MOTION FOR PRO HAC VICE
 behalf of others similarly situated,                  ADMISSION OF ANDREW
                                                       BRANTINGHAM
         Plaintiff,
                                                       Civil No. 4:24-CV-00033-TS-PK
 vs.
                                                       Judge Ted Stewart
 MAYO FOUNDATION FOR MEDICAL                           Magistrate Judge Paul Kohler
 EDUCATION AND RESEARCH,

         Defendant.


        I move for the pro hac vice admission of Andrew Brantingham as counsel for Defendant

Mayo Foundation for Medical Education and Research, and I consent to serve as local counsel.

The application and proposed order are attached as exhibits, and the admission fee will be paid to

the court at the time of filing. I certify that the Applicant is not a member of the Utah State Bar,

does not maintain a law office in Utah, and has not been admitted pro hac vice in any case in this

district in the previous five years.
Case 4:24-cv-00033-AMA       Document 13       Filed 04/18/24   PageID.558   Page 2 of 2




  DATED this 18th day of April, 2024.          DORSEY & WHITNEY LLP




                                               By: /s/ Maryann Bauhs
                                                   Milo Steven Marsden
                                                   Maryann Bauhs
                                                   Attorneys for Defendant




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